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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Khanh Nguyen,                                    NO. CV-23-00422-PHX-KML
10                 Plaintiff,
                                                     JUDGMENT IN A CIVIL CASE
11   v.
12   Embry Health of Arizona LLC, et al.,
13                 Defendants.
14
15          Decision by Court. This action came for consideration before the Court. The
16   issues have been considered and a decision has been rendered.
17          IT IS ORDERED AND ADJUDGED that pursuant to the Court’s Order filed May
18   14, 2025, judgment is entered in favor of Plaintiff and against Defendants Apollo
19   Healthcare & Diagnostics, LLC, Embry Health of Arizona, LLC, Raymond Embry,
20   Zachary Travis, and JoEllen Embry (jointly and severally and as alter egos) in the amount
21   of $2,402,978.20, with post-judgment interest at the statutory rate.
22                                             Debra D. Lucas
                                               District Court Executive/Clerk of Court
23
24   May 14, 2025
                                               s/ D. Draper
25                                       By    Deputy Clerk
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